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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )                 8:02CR329
               vs.                             )
                                               )                  ORDER
CRAIG A. ROBERTS,                              )
                                               )
                       Defendant.              )

       Defendant Craig A. Roberts appeared before the court on Tuesday, August 21, 2007 on a
Petition for Warrant or Summons for Offender Under Supervision [287]. The defendant was
represented by Assistant Federal Public Defender David M. O’Neill and the United States was
represented by Assistant U.S. Attorney Russell X. Mayer. Through his counsel, the defendant
waived his right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1).
The government moved for detention. However, the defendant is in the custody of the State of
Nebraska. Therefore, the matter of detention is held in abeyance pending the defendant returning
to federal custody.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Judge Laurie Smith Camp in
Courtroom No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, on September 4, 2007 at 2:00 p.m. Defendant must be present in person.
       2       The government's motion for detention pursuant to the Bail Reform Act is held in
abeyance pending the defendant coming into federal custody.
       3.      The defendant, Craig A. Roberts, having received notice of his return to the custody
of Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter, the U.S. Marshal is authorized to return the defendant, Craig
A. Roberts, to the custody of Nebraska state authorities pending the final disposition of this matter
and the U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 21st day of August, 2007.

                                                       BY THE COURT:

                                                       s/ F. A. Gossett
                                                       United States Magistrate Judge
